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   1   Christina Goodrich (SBN 261722)
       christina.goodrich@klgates.com
   2   Rachel Berman (SBN 352237)
       rachel.berman@klgates.com
   3   K&L GATES LLP
       10100 Santa Monica Boulevard
   4   Eighth Floor
       Los Angeles, CA 90067
   5   Telephone: +1 310 552 5000
       Facsimile: +1 310 552 5001
   6
       [Additional counsel on signature page]
   7
       Attorneys for Plaintiff
   8   Entropic Communications, LLC
   9
                           UNITED STATES DISTRICT COURT
  10
                         CENTRAL DISTRICT OF CALIFORNIA
  11

  12   ENTROPIC COMMUNICATIONS,                     Case No. 2:23-cv-01043-JWH-KES
       LLC,                                         (Lead Case)
  13
                      Plaintiff,                    Case No. 2:23-cv-01048-JWH-KES
  14                                                (Related Case)
             v.
  15                                                [Assigned to the Honorable John W.
       DISH NETWORK CORPORATION, et                 Holcomb]
  16   al.,
  17                  Defendants.                   ENTROPIC’S OPPOSITION TO
                                                    COMCAST’S MOTION TO
  18                                                DISMISS THE CORRECTED
                                                    SECOND AMENDED AND
  19                                                SUPPLEMENTAL COMPLAINT
  20   ENTROPIC COMMUNICATIONS,
       LLC,                                         Date:      April 25, 2025
  21
                         Plaintiff,                 Time:      9:00 am
  22
             v.                                     Dept:      9D
  23

  24   COX COMMUNICATIONS, INC., et                  REDACTED VERSION OF
       al.,                                          DOCUMENT PROPOSED TO BE
  25
                                                     FILED UNDER SEAL
  26                     Defendants.

  27   ENTROPIC COMMUNICATIONS,
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         ENTROPIC’S OPPOSITION TO COMCAST’S MOTION TO DISMISS THE
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   1   LLC,
   2
                        Plaintiff,
   3
              v.
   4

   5
       COMCAST CORPORATION, et al.,

   6                    Defendants.

   7
       ENTROPIC COMMUNICATIONS,
   8   LLC,
   9
                        Plaintiff,
  10
              v.
  11
       DIRECTV, LLC, et al.,
  12

  13                    Defendants.

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   1               MEMORANDUM OF POINTS AND AUTHORITIES
   2   I.    INTRODUCTION
   3         There is no jurisdictional defect in this case and thus no basis to grant
   4   Comcast’s motion under Federal Rule of Civil Procedure 12(b)(1). Comcast’s
   5   motion presents a garden-variety license defense that—like similar defenses in many
   6   cases before—goes to the merits of Entropic’s claims, not the Court’s jurisdiction.
   7         Comcast’s motion is based on a claim that the VSA authorizes it to practice
   8   the patents-in-suit absent willful infringement. But the absence of “authority” to
   9   practice a patent is, by statute, a substantive element of a claim for patent
  10   infringement, not a jurisdictional prerequisite. Standing in no way depends on the
  11   merits of a right to relief, and the Corrected Second Amended and Supplemental
  12   Complaint (“SAC”) irrefutably demonstrates all elements of Article III standing. It
  13   is also premature to evaluate the VSA—mentioned for the first time in an affirmative
  14   defense in Comcast’s motion—because Rule 12(b) tests the sufficiency of the
  15   complaint and nothing more.
  16         Comcast’s motion simply assumes that the current complaint is
  17   jurisdictionally defective because the Court previously dismissed a separate
  18   complaint on that ground. But Comcast’s presumption ignores this Court’s ongoing
  19   obligation to assess its jurisdiction. Because Comcast’s position contradicts
  20   fundamental precepts of constitutional jurisprudence and civil procedure, this Court
  21   should reach a different result with respect to the SAC and deny Comcast’s motion.
  22         As for Comcast’s motion to dismiss Entropic’s claims for willful infringement
  23   under Rule 12(b)(6), the SAC adds more than enough detailed, factual allegations to
  24   pass the plausibility test. Specifically, the SAC alleges that then-patent owner
  25   Entropic Inc. sent an email to the MoCA Board—including Comcast—informing
  26   them that the ’518 Patent is essential to the MoCA standard, a standard Comcast was
  27   intimately involved in developing and promoting, and that Comcast has used the
  28                                8
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   1   MoCA standard since that time despite knowing that the ’518 Patent is essential to
   2   practicing it. 1043 DE 588-1 (SAC) ¶¶ 133–36. At a minimum, these allegations
   3   establish that Comcast was willfully blind and knew of a high risk that it was
   4   infringing the ’518 Patent, as well as the ’759 Patent (a continuation of the ’518
   5   Patent). Id. ¶¶ 137–38. These new allegations, plus the existing allegations
   6   concerning Comcast’s long-standing and deep involvement with MoCA and the
   7   Asserted Patents’ prior owners, are sufficient to allege that Comcast was aware of
   8   and knew of its infringement of the Asserted Patents.
   9         There is also another straight-forward and independent reason to deny
  10   Comcast’s motion regarding willfulness: as the SAC amply alleges, Comcast has
  11   been on notice of its infringement of the Asserted Patents through detailed claim
  12   charts and infringement contentions Entropic sent it after the original complaint was
  13   filed. Id. ¶¶ 158–81. Comcast’s position—that this notice is null simply because it
  14   occurred during a lawsuit—is untenable. Although some district courts ignore post-
  15   suit willfulness, the majority view it for what it plainly is: a defendant’s knowing
  16   persistence at infringing another’s patent rights. This Court should join that majority
  17   view and deny Comcast’s motion.
  18         In sum, Entropic’s allegations of non-willful patent infringement contain no
  19   jurisdictional defect, and the SAC’s new, pre-suit allegations of willfulness, as well
  20   as its post-suit allegations of the same, clear the plausibility hurdle for willful patent
  21   infringement as to all Asserted Patents. Comcast’s motion, under both 12(b)(1) and
  22   12(b)(6), should be denied in full.
  23   II.   JUDICIAL STANDARD
  24             A. Rule 12(b)(1) of the Federal Rules of Civil Procedure
  25         Subject matter jurisdiction challenges arise under Rule 12(b)(1). Jurisdiction
  26   is a question of whether the Court has the authority to hear a claim. In contrast to
  27   Rule 12(b)(6), the merits of a claim are irrelevant to the question of authority—the
  28                                9
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   1   Court either has authority, or lacks it, on the basis of the claim itself, not on its
   2   eventual outcome. “Jurisdiction, therefore, is not defeated . . . by the possibility that
   3   the averments might fail to state a cause of action on which petitioners could actually
   4   recover.” Bell v. Hood, 327 U.S. 678, 682 (1946). “[I]t is well settled that the failure
   5   to state a proper cause of action calls for a judgment on the merits and not for a
   6   dismissal for want of jurisdiction.” Id. Thus, “[a]t the pleading stage, a plaintiff need
   7   only allege sufficient facts that, taken as true, demonstrate each element of Article
   8   III standing.” Cedar Park Assembly of God of Kirkland, Washington v. Kreidler,
   9   2025 WL 716341, at *4 (9th Cir. Mar. 6, 2025) (quotations omitted). And in the
  10   constitutional standing context, “a plaintiff need not satisfy the Iqbal/Twombly
  11   plausibility standard,” Mirabelli v. Olson, 2025 WL 42507, at *4 (S.D. Cal. Jan. 7,
  12   2025), because “the threshold question of whether plaintiff has standing (and the
  13   court has jurisdiction) is distinct from the merits of his claim.” Maya v. Centex Corp.,
  14   658 F.3d 1060, 1068 (9th Cir. 2011).
  15             B. Rule 12(b)(6) of the Federal Rules of Civil Procedure
  16         Dismissal pursuant to Rule 12(b)(6) is based on a determination that the claim
  17   as pled is implausible. The barrier to dismissing a claim at this stage, with no
  18   discovery, is correspondingly very high. At the pleading stage, a court must “accept
  19   all factual allegations in the complaint as true and construe the pleadings in the light
  20   most favorable to the nonmoving party.” Rowe v. Educ. Credit Mgmt. Corp., 559
  21   F.3d 1028, 1029–30 (9th Cir. 2009) (citation and quotation omitted). A complaint
  22   need only “contain[] ‘sufficient factual matter, accepted as true, to state a claim of
  23   relief that is plausible on its face.’” Harris v. Cnty. of Orange, 682 F.3d 1126, 1131
  24   (9th Cir. 2012) (quoting Ashroft v. Iqbal, 556 U.S. 662, 678 (2009)). Thus, “[i]f there
  25   are two alternative explanations, one advanced by [a] defendant and the other
  26   advanced by [a] plaintiff, both of which are plausible, [a] plaintiff’s complaint
  27

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        ENTROPIC’S OPPOSITION TO COMCAST’S MOTION TO DISMISS THE
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   1   survives a motion to dismiss under Rule 12(b)(6).” Starr v. Baca, 652 F.3d 1202,
   2   1216 (9th Cir. 2011).
   3   III.   ARGUMENT
   4                A. Comcast’s motion under Rule 12(b)(1) should be denied in full.
   5          This Court previously ruled that the VSA divested it of Article III jurisdiction
   6   over the First Amended Complaint’s (“FAC”) claims of non-willful patent
   7   infringement but that it retained jurisdiction over claims of willful patent
   8   infringement. See 1048 DE 132 at 7. Entropic respectfully submits that this
   9   conclusion misapplied the law of subject matter jurisdiction and should therefore be
  10   revisited.
  11          To Entropic’s knowledge, no Federal Circuit case has held that a license or
  12   covenant not to sue deprives a court of subject matter jurisdiction over a subsequent
  13   patent infringement action. To the contrary, recent Federal Circuit precedent
  14   establishes that Article III standing to sue for patent infringement is distinct from the
  15   statutory requirements of the Patent Act. See Intell. Tech LLC v. Zebra Techs. Corp.,
  16   101 F.4th 807, 814 (Fed. Cir. 2024). And the Patent Act specifically requires, as one
  17   statutory element of a claim for patent infringement, that the defendant act “without
  18   authority.” 35 U.S.C. § 271. The question of whether Comcast was authorized to use
  19   Entropic’s patents is thus, by statute, an element of Entropic’s claim for infringement.
  20   It cannot be, and is not, a jurisdictional requirement.
  21          Consistent with this, the Federal Circuit has clarified that, to establish subject-
  22   matter jurisdiction, a patent owner need only allege that it possessed at least one
  23   exclusionary right in its patent when its claim was filed. Zebra Techs. Corp., 101
  24   F.4th at 814. Here, Entropic “alleged that it possesses [exclusionary rights in the
  25   asserted patents]” and “also alleged that [the Comcast defendants] infringe its
  26   exclusionary rights,” Lone Star Silicon Innovations LLC v. Nanya Tech. Corp., 925
  27   F.3d 1225, 1234 (Fed. Cir. 2019); see, e.g., SAC ¶¶ 242, 255, 270 (allegations
  28                                11
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   1   pertaining to ’518 Patent). “This is enough to confer standing at the pleading stage.”
   2   Lone Star, 925 F.3d at 1234.
   3         This outcome is consistent with established Federal Circuit precedent that
   4   treats “[a] license [as] an affirmative defense to patent infringement[]” that must be
   5   pleaded and proven by the accused infringer. Scramoge Tech. Ltd. v. Apple, Inc., 669
   6   F. Supp. 3d 826, 830 (N.D. Cal. 2023) (citing Carborundum Co. v. Molten Metal
   7   Equip. Innovations, Inc., 72 F.3d 872, 878 (Fed. Cir. 1995)). As an affirmative
   8   defense, a licensing defense may be waived if not pled in a timely fashion. See, e.g.,
   9   Zest IP Holdings, LLC v. Implant Direct Mfg. LLC, 2015 WL 1510755, at *19 (S.D.
  10   Cal. Feb. 3, 2015). By contrast, a lack of subject matter jurisdiction cannot be waived.
  11   See FED. R. CIV. P. 12(h)(3). The fact that a licensing defense can be waived
  12   demonstrates that the existence of a license goes to the merits of liability, not to
  13   jurisdiction.
  14         The authority cited by Comcast is inapposite: it addresses jurisdiction to bring
  15   a declaratory judgment action by entities who have no rights in a patent, not
  16   infringement actions by patent owners. To invoke declaratory judgment jurisdiction,
  17   a plaintiff must show “a substantial controversy[] between the parties having adverse
  18   legal interests, of sufficient immediacy and reality to warrant the issuance of a
  19   declaratory judgment.” Dow Jones & Co. v. Ablaise Ltd., 606 F.3d 1338, 1345 (Fed.
  20   Cir. 2010) (quotations omitted). For example, Revolution Eyewear, Inc. v. Aspex
  21   Eyewear, Inc., addressed jurisdiction over declaratory judgment counterclaims after
  22   a patentee voluntarily dismissed its claims and provided a covenant not to sue. 556
  23   F.3d 1294, 1297 (Fed. Cir. 2009); see 1043 DE 595 at 12 (quoting Revolution
  24   Eyewear). In the declaratory judgment context, the scope of a covenant or license can
  25   be a jurisdictional issue. If a license exists, there is no longer a controversy of
  26   “sufficient immediacy and reality” and thus no declaratory judgment jurisdiction. See
  27   also King Pharms., Inc. v. Eon Labs, Inc., 616 F.3d 1267, 1283 (Fed. Cir. 2010)
  28                                12
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   1   (vacating order on declaratory judgment counterclaims of invalidity because the
   2   “covenants not to sue confirm that there is no case or controversy”); cf. Apple Inc. v.
   3   Qualcomm Inc., 992 F.3d 1378, 1381 (Fed. Cir. 2021) (appellant could not challenge
   4   patent through appeal of IPR decisions after receiving covenant not to sue). In an
   5   infringement action, by contrast, standing turns on whether a plaintiff holds
   6   “exclusionary rights” in a patent. Lone Star, 925 F.3d at 1234. There is no need, in
   7   this context, to analyze whether a claim is of “sufficient immediacy and reality”
   8   because a patentee’s well-plead allegations that its patents are infringed suffices to
   9   invoke the court’s jurisdiction. See Zebra Techs., 101 F.4th at 814.
  10         Comcast argues that the Court’s dismissal of the FAC “remains the law of the
  11   case.” 1043 DE 595 at 13. This is incorrect: “[t]he doctrine of ‘law of the case’ does
  12   not apply to the fundamental question of subject matter jurisdiction.” Gonzalez v.
  13   United States Immigr. & Customs Enf’t, 975 F.3d 788, 805 n.10 (9th Cir. 2020).
  14   “[W]hen it comes to non-discretionary actions for damages, . . . federal courts possess
  15   a virtually unflagging obligation . . . to exercise the jurisdiction given them.” R.R. St.
  16   & Co. Inc. v. Transp. Ins. Co., 656 F.3d 966, 977 (9th Cir. 2011) (quotation omitted).
  17   Thus, the prior dismissal of the FAC is not “law of the case” regarding this Court’s
  18   jurisdiction over the SAC.1
  19

  20

  21
       1
         Although the dismissal of the FAC was based in part on a lack of constitutional
       standing, constitutional standing has never been adequately briefed by the parties.
  22   The first time Comcast raised constitutional standing in a brief was in its response to
  23   Entropic’s supplemental brief. See 1048 DE 129 at 1; 1048 DE 126 at 1 (“Standing
       has not been disputed in this case.”). But even then, in the resulting order, this Court
  24   gave no explicit indication that constitutional standing was the basis for its decision.
  25   See 1043 DE 132 at 6–7. Consequently, Entropic did not focus on constitutional
       standing in its motion for reconsideration, see generally 1043 DE 186; 1043 DE 221;
  26   and at most, in Comcast’s opposition to reconsideration, Comcast raised
  27   constitutional standing only twice, both times in a conclusory, passing form, and
       without any supporting argument or caselaw. See 1043 DE 202 at 9, 14.
  28                                              13
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   1         At bottom, Comcast is improperly twisting its affirmative licensing defense
   2   into a jurisdictional attack to subvert the rules on considering matters outside the
   3   pleadings on a Rule 12 motion. The simple fact that Entropic has standing to bring
   4   an infringement suit does not, as Comcast suggests, “deprive [the VSA] of any force.”
   5   See 1043 DE 595 at 15; 1043 DE 275 at 6. Rather, the scope and enforceability of the
   6   VSA are issues for later adjudication on the merits. Under Federal Circuit precedent
   7   on Article III standing in patent infringement actions, the Court should deny
   8   Comcast’s motion under Rule 12(b)(1) in its entirety.
   9         In the event this Court disagrees and finds it does not have jurisdiction, two
  10   precedential rules are worth noting. First, if this Court “concludes that it lacks
  11   subject-matter jurisdiction, [it] must dismiss the complaint in its entirety.” Arbaugh
  12   v. Y&H Corp., 546 U.S. 500, 514 (2006). Second, if the SAC is dismissed for lack of
  13   subject matter jurisdiction, that dismissal must be without prejudice, because in that
  14   event, the merits of Entropic’s claims could not have been considered. Missouri ex
  15   rel. Koster v. Harris, 847 F.3d 646, 656 (9th Cir. 2017). In other words, if the Court
  16   finds Entropic lacks standing, it cannot issue a final judgment nor adjudicate the
  17   sufficiency of Entropic’s willfulness allegations.
  18            B. The SAC sufficiently alleges that Comcast willfully infringed each
  19                of the Asserted Patents.
  20                1.    The allegations regarding Comcast’s post-suit conduct are
  21                      sufficient to plead Comcast’s willful infringement.
  22         Comcast does not contest that the SAC sufficiently alleges that Comcast had
  23   post-suit knowledge of the Asserted Patents and had specific, detailed knowledge
  24   that it was infringing (and continues to infringe) those patents. Nor could it—
  25   Entropic’s prior complaints provided detailed notice of the Asserted Patents and
  26   Comcast’s infringement, including attached claim charts. SAC ¶¶ 161–70; see
  27   generally 1048 DE 1, 67. Even if that were insufficient, Entropic has served
  28                                14
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   1   substantial and detailed infringement contentions for each Asserted Patent that
   2   further provided notice of Comcast’s infringement of the Asserted Patents. Id.
   3   ¶¶ 171–77. Rather than contest the sufficiency of these allegations, Comcast instead
   4   asserts that: (1) the VSA prohibited the original Complaint in this case, so it cannot
   5   serve to provide Comcast with notice of its willful infringement; and (2) the Court
   6   should adopt the minority position as to post-suit willful infringement and find that
   7   it is categorically insufficient. 1043 DE 598 at 14:17–18:24. Both arguments lack
   8   merit.
   9            First, the VSA, as a factual matter, has no bearing on Comcast’s corporate
  10   scienter, and as a legal matter, does not relieve Comcast of liability for willful
  11   infringement. Comcast indisputably received the original Complaint and
  12   accompanying claim charts and reviewed those materials. See 1048 DE 1, 19–21,
  13   67. It also undisputedly received, separately, detailed infringement contentions
  14   Entropic served on it. SAC ¶¶ 171–72. Comcast does not contest that if Entropic had
  15   sent the Complaints and contentions to Comcast without filing a lawsuit, that would
  16   have been sufficient to support willfulness allegations. Instead, Comcast argues that
  17   the fact that it received them during a lawsuit somehow nullifies its knowledge of its
  18   infringement and forever protects Comcast from willful infringement. But even if
  19   the filing of Entropic’s lawsuit somehow constitutes breach, as Comcast alleges, 2 it
  20   does not eliminate Comcast’s specific knowledge of both the Asserted Patents and
  21   Comcast’s infringement thereof. See Collins & Aikman Prod. Co. v. Sermatech
  22   Eng’g Grp., Inc., 746 N.Y.S.2d 698, 700 (2002) (“[C]ovenants not to sue, when
  23   considered purely defensively, are narrowly construed because they have the effect
  24   of exculpating a party from its own wrongdoing.”).
  25   2
         Comcast’s assertion that the original Complaint breached the covenant is without
  26   merit. All prior complaints have alleged willful patent infringement of all Asserted
  27   Patents, see 1048 DE 1; 1050 DE 1; and it has never been suggested that Entropic
       lacked a good faith basis to bring those claims.
  28                                             15
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   1         It is also not the case that allowing Entropic to litigate this suit “would deprive
   2   [the] covenant[] not to sue of any force” or would “forc[e] the parties to litigate when
   3   that is the very thing that they agreed not to do.” 1043 DE 598 at 15:12–15 (citing
   4   1043 DE 275 at *4). The covenant may still operate to limit Comcast’s damages
   5   window to the time during which its infringement was willful. And the parties never
   6   agreed to forbear litigation altogether. Simply put, the VSA expressly allows
   7   Comcast to be sued for willful infringement and therefore is not a license. 3
   8         In short, Comcast indisputably has had detailed knowledge of the Asserted
   9   Patents and how it is infringing the Asserted Patents on an ongoing basis since at
  10   least the filing of the original Complaint and subsequent service of infringement
  11   contentions (each of which independently provided notice). SAC ¶¶ 158–75. Despite
  12   this, Comcast has continued to infringe the Asserted Patents. Id. ¶¶ 176–77. This is
  13   paradigmatic willful patent infringement, and is expressly carved out in the VSA,
  14   which is agnostic as to the method by which Comcast obtains its knowledge and
  15   begins to willfully infringe. 1048 DE 82-2 (“VSA”) § 7.3.
  16         Second, Comcast’s argument that this Court should categorically reject post-
  17   suit willfulness allegations relies on non-precedential caselaw that represents a
  18   minority viewpoint. This Court should instead adopt the majority viewpoint and join
  19   “most [district] courts in holding that [post-filing, willful infringement allegations in
  20   an amended complaint] may support a claim for willful infringement.” Merrill Mfg.
  21   Co. v. Simmons Mfg. Co., 553 F. Supp. 3d 1297, 1306 (N.D. Ga. 2021); see id. at
  22   1305–06 & n.9 (collecting cases); BillJCo, LLC v. Apple Inc., 583 F. Supp. 3d 769,
  23   778–79 & n.2 (W.D. Tex. 2022) (collecting cases); Therabody, Inc. v. Tzumi Elecs.
  24

  25
       3
         The very concept of a license for non-willful infringement is nonsensical. In
       Comcast’s estimation, it has a license and authorization to use patents but it cannot
  26   be aware that it is using said patents. And once it becomes aware it is using the patents
  27   for which it supposedly has a license, the license ceases to exist. That is antithetical
       to the definition of a license
  28                                               16
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   1   LLC, 2022 WL 17826642, at *9–12 (S.D.N.Y. Dec. 19, 2022) (analyzing court split);
   2   Tonal Sys., Inc. v. iFIT Inc., 2022 WL 951549, at *2–3 (D. Del. Mar. 30, 2022)
   3   (evaluating counterpoints).4 The viewpoint that original complaints may supply the
   4   knowledge necessary for post-suit willful infringement is also one held by a majority
   5   of district courts in this circuit. See, e.g., Apple Inc. v. Samsung Elecs. Co., 258 F.
   6   Supp. 3d 1013, 1027 (N.D. Cal. 2017) (“[P]ost-filing conduct alone can serve as the
   7   basis of a jury’s willfulness finding . . . .”); Monolithic Power Sys., Inc. v. Silergy
   8   Corp., 127 F. Supp. 3d 1071, 1076 (N.D. Cal. 2015) (“[A] plaintiff can state a claim
   9   for post-filing willful infringement so long as the plaintiff alleges, in an amended
  10   complaint and with sufficient particularity, that there is an objectively high risk the
  11   defendant is continuing to infringe and the defendant knows or should know of that
  12   objectively high risk.”); MyMedicalRecords, Inc. v. Jardogs, LLC, 1 F. Supp. 3d
  13   1020, 1026 (C.D. Cal. 2014) (“A defendant should not be able to escape liability for
  14   postfiling infringement when the complaint manifestly places the defendant on
  15   notice that it allegedly infringes the patents-in-suit.”).5 And, although no Circuit
  16   Court has directly addressed this issue in the context of willful infringement, the idea
  17   that “service of an earlier complaint can provide the requisite knowledge of [an]
  18

  19   4
         See, e.g., Focus Prods. Grp. Int’l, LLC v. Kartri Sales Co., 647 F. Supp. 3d 145,
  20   262 (S.D.N.Y. 2022) (“A defendant’s continued sales of infringing products after a
       complaint has been filed against it can also, on its own, warrant a finding of
  21   willfulness.”); Biedermann Techs. GmbH & Co. KG v. K2M, Inc., 528 F. Supp. 3d
  22   407, 430 (E.D. Va. 2021) (“[T]he filing of the case itself . . . put K2M on notice of
       the infringement.”).
  23   5
        See also, e.g., RJ Tech., LLC v. Apple, Inc., 2023 WL 3432237, at *8 (C.D. Cal.
  24   Mar. 23, 2023); Parity Networks, LLC v. Moxa Inc., 2020 WL 6064636, at *4–5 (C.D.
  25   Cal. Sept. 11, 2020); Fluidigm Corp. v. IONpath, Inc., 2020 WL 1433178, at *3 (N.D.
       Cal. Mar. 24, 2020); Vaporstream, Inc. v. Snap Inc., 2020 WL 136591, at *20 (C.D.
  26   Cal. Jan. 13, 2020); Finjan, Inc. v. Eset, LLC, 2017 WL 1063475, at *4 (S.D. Cal.
  27   March 21, 2017); TeleSign Corp. v. Twilio, Inc., 2015 WL 12765482, at *10 (C.D.
       Cal. Oct. 16, 2015).
  28                                             17
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   1   asserted patent in an amended complaint” is “well-established in the context of
   2   induced infringement . . . .” Therabody, 2022 WL 17826642, at *10 (citing In re Bill
   3   of Lading Transmission & Processing Sys. Pat. Litig., 681 F.3d 1323, 1345 (Fed.
   4   Cir. 2012); Labyrinth Optical Technologies, LLC v. Fujitsu America, Inc., 2013 WL
   5   12126111, at *4-6 (C.D. Cal. Aug. 21, 2013)).
   6         Despite the fact that the majority of courts recognize post-suit willful conduct,
   7   Comcast hyperbolically asserts that recognizing post-suit willful conduct in general
   8   “would have the absurd result of transforming every infringement claim into one of
   9   willful infringement unless the defendant immediately ceased all accused conduct .
  10   . . .” 1043 DE 598 at 16. First, Rules 8 and 11 guard against speculative and baseless
  11   allegations of willfulness; second, whether plaintiffs may prospectively include post-
  12   suit allegations in their original complaints is not at issue here, see, e.g., Ravgen, Inc.
  13   v. Quest Diagnostics Inc., 2022 WL 2047613, at *3 (C.D. Cal. Jan. 18, 2022); and
  14   third, to the extent any plaintiff attempts gamesmanship at the pleading stage, courts
  15   are equipped to police discreditable motions to amend to add willfulness allegations
  16   to subsequent complaints, see, e.g., Slot Speaker Techs., Inc. v. Apple, Inc., 2017 WL
  17   4354999, at *2 (N.D. Cal. Sept. 29, 2017). It is well-established that “post-filing
  18   conduct alone can serve as the basis of a jury’s willfulness finding . . .”, Apple Inc.
  19   v. Samsung Elecs. Co., 258 F. Supp. 3d 1013, 1027 (N.D. Cal. 2017), and thus it is
  20   not “absurd” to acknowledge that all defendants face a post-suit choice: cease willful
  21   infringement, bargain for a license, or risk liability by standing pat on their defenses.
  22         Comcast’s position would hand defendants a free pass to continue
  23   infringing—regardless of how egregious the defendant’s post-filing behavior is—
  24   despite being put on notice of its infringement by a complaint. This result is contrary
  25   to the Supreme Court’s holding that “Section 284 allows district courts to punish the
  26   full range of culpable behavior.” Halo Elecs., Inc. v. Pulse Elecs., Inc., 579 U.S. 93,
  27   106 (2016) (emphasis added); see also MyMedicalRecords, Inc., 1 F. Supp. 3d 1020,
  28                                18
        ENTROPIC’S OPPOSITION TO COMCAST’S MOTION TO DISMISS THE
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   1   1026 (C.D. Cal. 2014) (“[I]f a plaintiff . . . is able to establish the defendant’s
   2   knowledge of the alleged infringement based on a prior, though superseded,
   3   complaint, the defendant should not be able to escape liability for conduct occurring
   4   after the plaintiff files its complaint.”).
   5          Comcast’s arguments, and the cases quoted by Comcast in support, are rooted
   6   in a fundamental error conflating the pleading standard for willful infringement and
   7   the merits standard for willfulness-based enhanced damages under Section 284.
   8   They are not the same thing. To plead willful patent infringement, a patentee need
   9   only prove knowledge of the patent and knowledge of infringement. Sonos, Inc. v.
  10   Google LLC, 591 F. Supp. 3d 638, 643 (N.D. Cal. 2022). To succeed on the merits
  11   in establishing entitlement to enhanced damages under Section 284, however, the
  12   patentee must show proof of “egregious cases of culpable behavior” that has “been
  13   variously described in [Federal Circuit] cases as willful, wanton, malicious, bad-
  14   faith, deliberate, consciously wrongful, flagrant, or—indeed—characteristic of a
  15   pirate.” Halo, 579 U.S. at 103–04. “Although willfulness is a component of
  16   enhancement, an award of enhanced damages does not necessarily flow from a
  17   willfulness finding.” SRI Int’l, Inc. v. Cisco Sys., Inc., 14 F.4th 1323, 1330 (Fed. Cir.
  18   2021) (quotation omitted). In other words, willful patent infringement is “a necessary
  19   but not necessarily sufficient predicate, for a finding of egregious misconduct and
  20   enhanced damages.” Sonos, Inc. v. Google LLC, 591 F. Supp. 3d 638, 643 (N.D. Cal.
  21   2022) (citing SRI Int’l, Inc. v. Cisco Sys., Inc., 930 F.3d 1295, 1310 (Fed. Cir. 2019).
  22   For instance, a willful infringer who maintains a good-faith belief that the patent is
  23   invalid may not be liable for enhanced damages. See Sunoco Partners Mktg. &
  24   Terminals L.P. v. U.S. Venture, Inc., 32 F.4th 1161, 1177 (Fed. Cir. 2022) (listing
  25   factors to consider). At the pleading stage, “once willfulness is adequately pled, the
  26   complaint need not go further and specify the further aggravating circumstances
  27   warranting enhanced damages.” Sonos, 591 F. Supp. at 644.
  28                                19
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   1         Understanding this distinction lays bare the irrelevance of Comcast’s assertion
   2   that a patentee would “always [be able] to file an amended complaint to assert
   3   willfulness based on knowledge gleaned from the allegations in the earlier
   4   complaint.” 1043 DE 598 at 17:7–9. A defendant with a good faith belief in its
   5   defenses has nothing to fear from willful infringement because, per Halo, it cannot
   6   be subject to enhanced damages under Section 284. But a defendant who reviews a
   7   complaint, determines a high risk that it is infringing the asserted patent, and lacks
   8   any good faith defenses to infringement such that its conduct is egregious under
   9   Halo, and yet continues to infringe, rightfully should be held accountable.
  10   Comcast’s view is that—even if a judge determines after trial that a defendant’s
  11   conduct was egregious—such a defendant nonetheless should escape consequences
  12   for its egregious conduct merely because its notice comes via a complaint. That result
  13   is contrary to policy and the plain language of Section 284.
  14         In sum, the Court should reject Comcast’s arguments that seek to nullify
  15   Entropic’s well-pled factual allegations that Comcast obtained knowledge of both
  16   the Asserted Patents and its specific infringement of those patents through the
  17   Complaints and infringement contentions in this case, and yet has continued to
  18   infringe, constituting willful patent infringement no later than when Comcast
  19   obtained such knowledge. This Court should adopt the majority view regarding post-
  20   suit willful patent infringement, deny Comcast’s motion under Rule 12(b)(6), and
  21   permit the case to proceed to discovery.
  22                2.    The allegations related to Comcast’s investment in Entropic
  23                      Inc. and participation in MoCA are sufficient to plead
  24                      Comcast’s willful infringement.
  25         Comcast argues that Entropic’s allegations about Comcast’s investment in
  26   Entropic Inc. and Comcast’s involvement in MoCA are insufficient to establish that
  27   Comcast had knowledge of the filing of the Asserted Patents. 1043 DE 598 at 21:13–
  28                                20
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   1   23:7. As an initial matter, Comcast’s suggestion that these allegations are not specific
   2   or narrow enough flies in the face of the well-settled standard for pleading
   3   willfulness. Courts have repeatedly recognized that at the early pleading stage, a
   4   party cannot possibly know the full extent of a party’s willful infringement, 6 because
   5   that information often is within the sole possession of the infringer. See Sonos, Inc.,
   6   591 F. Supp. 3d at 644–45 (“The full extent of egregious behavior is . . . unknown at
   7   the pleading stage. It would be unreasonable to expect patent plaintiffs to be in a
   8   position to plead the full extent of egregious misconduct.”).
   9         To demand that a party identify with immense specificity the particulars of
  10   when, where, and how the defendant became aware of its infringement without any
  11   discovery—precisely what Comcast urges here—would convert the pleading stage
  12   into summary judgment. Worse, it would offer willful infringers ample opportunity
  13   to avoid discovery merely through successfully hiding enough of its conduct, which
  14   is precisely what Comcast is doing now in refusing to produce any documents on its
  15   own VSA defense or willfulness. See, e.g., 1043 DE 174 (SM hearing on discovery
  16   disputes). This is not what the law requires. Instead, the law applies a lenient
  17   pleading standard for willful infringement that merely requires plausible allegations
  18   of the defendant’s knowledge of the asserted patents and its infringement of those
  19   patents. Arctic Cat Inc. v. Bombardier Recreational Prods., Inc., 876 F.3d 1350,
  20   1371 (Fed. Cir. 2017); see, e.g., Warn Indus., Inc. v. Agency 6 Inc., 660 F. Supp. 3d
  21   924, 935 (E.D. Cal. 2023) (finding plaintiff sufficiently pled willful infringement by
  22   alleging that defendant was aware of the pre-publication grant of asserted patent and
  23   received cease and desist letter from plaintiff). This is exactly what Entropic has
  24   alleged.
  25   6
        Yet another reason the VSA, as an affirmative defense, is not a bar to suit. See Air
  26   Prod. & Chemicals, Inc. v. Reichhold Chemicals, Inc., 755 F.2d 1559, 1563–64 (Fed.
  27   Cir. 1985) (a contract defense does not defeat federal subject matter jurisdiction);
       Pixton v. B & B Plastics, Inc., 291 F.3d 1324, 1327 (Fed. Cir. 2002) (same).
  28                                             21
        ENTROPIC’S OPPOSITION TO COMCAST’S MOTION TO DISMISS THE
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   1         Similarly, Comcast incorrectly suggests that the FAC allegations the Court
   2   previously found insufficient on their own must now be disregarded for all time. To
   3   the contrary, the Federal Circuit has “stated many times that a number of factors
   4   enter into a willfulness determination and, as such, the issue is properly resolved by
   5   evaluating the totality of the surrounding circumstances.” Graco, Inc. v. Binks Mfg.
   6   Co., 60 F.3d 785, 792 (Fed. Cir. 1995). Thus, the fact that certain prior allegations
   7   may have been insufficient in isolation to establish willfulness does not mean that
   8   those allegations are now stricken from the complaint for all time. The totality of
   9   Entropic’s allegations is more than sufficient to plead Comcast’s willful
  10   infringement.
  11         In any event, the SAC’s new allegations about Comcast’s investment in
  12   Entropic Inc. and Comcast’s involvement in MoCA are independently sufficient to
  13   establish Comcast’s willful infringement of the Asserted Patents. Comcast argues
  14   that these allegations establish only that Comcast would have been aware of a “patent
  15   portfolio” or “patent applications,” but not the Asserted Patents themselves. 1043
  16   DE 598 at 21:13–23:7. To the contrary, the SAC alleges that Comcast was an “early
  17   and active member of MoCA” who “helped to develop the MoCA standard.” SAC
  18   ¶ 126. Comcast would thus have needed to be aware of the patented technology that
  19   is essential to practicing the MoCA standard. Cf. Microsoft Corp. v. Motorola, Inc.,
  20   864 F. Supp. 2d 1023, 1027 (W.D. Wash. 2012) (explaining the need for members
  21   of standards setting organizations to identify patents that are essential to the proposed
  22   standard). The SAC then identifies six specific patents that were filed during the time
  23   that Comcast helped develop the MoCA standard. SAC ¶ 128. The SAC specifies
  24   that these patents are standards essential. Id. Based on Comcast’s involvement in the
  25   development of the MoCA standard, it is therefore more likely than not that Comcast
  26   was aware of these patents and tracked them through issuance. See generally WCM
  27   Industries, Inc. v. IPS Corp., 721 F. App’x 959, 970 (Fed. Cir. 2018) (rejecting a per
  28                                22
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   1   se rule that “to willfully infringe a patent, the patent must exist and one must have
   2   knowledge of it”); see also id. at 970 n.4 (casting doubt on its prior precedent that
   3   “knowledge of a pending patent application cannot support a finding of willfulness,”
   4   given that patent applications and prosecution activity are now published in real-
   5   time).
   6            Comcast then takes issue with Entropic’s allegations regarding an email sent
   7   by Anton Monk to the MoCA Board of Directors that specifically identifies Entropic
   8   Inc.’s ownership of the ’518 Patent and states that the ’518 Patent is essential to the
   9   practice of MoCA. SAC ¶¶ 133–36. Comcast argues that this allegation fails to
  10   plausibly establish Comcast’s willful infringement because: (1)
  11                                                         ; (2)
  12                                                                  ; (3)
  13                                                             ; and (4)
  14                  . 1043 DE 598 at 35:14–36:11. None of these arguments are persuasive.
  15            First, Entropic does not need to allege
  16                        in order to plausibly allege that Comcast was put on notice of its
  17   infringement. Indeed, “[i]t is well established that corporations act through their
  18   employees and an agent’s knowledge will generally be imputed to the corporate
  19   principal so long as employees are acting within the scope of their employment.”
  20   Potter Voice Techs., LLC v. Apple Inc., 24 F. Supp. 3d 882, 886 (N.D. Cal. 2014);
  21   see also i4i Ltd. P’ship, 598 F.3d at 860 (finding substantial evidence supporting a
  22   finding of willful infringement where defendant company’s employees received
  23   plaintiff’s sales kit citing the asserted patent and went to plaintiff’s software
  24   demonstrations). Here, the SAC alleges that Monk’s email was sent to the MoCA
  25   Board of Directors, and that “Comcast was a member of the Board at the time and
  26   therefore received this notice from Entropic.” SAC ¶¶ 134–35 (emphasis added).
  27   This is sufficient to plausibly allege that the Comcast employees involved with
  28                                23
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   1   MoCA and the development of the infringing technology were put on notice of the
   2   ’518 Patent.
   3         Second, Entropic’s allegations are not insufficient simply because they do not
   4                                                                                         .
   5   Monk’s email put MoCA Board members on notice that any technology practicing
   6   MoCA would infringe the ’518 Patent. The SAC establishes that Comcast was
   7   involved in the development of the standard, and during this same time, that Comcast
   8   was in the process of developing its own technology essential to the practice of the
   9   MoCA standard. Id. ¶¶ 125–38. Comcast subsequently practiced the MoCA standard
  10   (and continues to do so). Id. ¶¶ 125–31. It is therefore highly plausible that Comcast
  11   had knowledge that its use of MoCA infringed the ’518 Patent. Id. ¶¶ 133–36.
  12         Third, Comcast’s argument that the email should be ignored simply because
  13                                  for this same reason—it put Comcast on notice of its
  14   infringement at the time, and that knowledge persists. Moreover, the SAC alleges
  15   that Comcast “continued to monitor and analyze Entropic’s MoCA-related patents
  16   and was aware of later-filed patents that are standard-essential to MoCA simply due
  17   to the importance of MoCA to Comcast’s business and Comcast’s later involvement
  18   as a board member of the MoCA.” Id. ¶ 130.
  19         At the very least, these allegations establish that Comcast was willfully blind
  20   to its infringement of the ’518 Patent and the ’759 Patent, which is a continuation of
  21   the ’518 Patent. See Corephotonics, Ltd., 2018 WL 4772340, at *9 (N.D. Cal. Oct.
  22   1, 2018) (allegations created inference that defendant “was at least willfully blind to
  23   a high risk that it was infringing [plaintiff’s] patents” where defendant purposefully
  24   neglected to investigate plaintiff’s patents to avoid confirming that it was infringing
  25   the asserted patents). Thus, Entropic’s allegations regarding Comcast’s involvement
  26   in MoCA are sufficient to establish Comcast has willfully infringed the Asserted
  27   Patents.
  28                                24
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   1   IV.   CONCLUSION
   2         Based on the foregoing, Entropic requests the Court deny this motion in its
   3   entirety. If, however, the Court finds that dismissal under Rule 12(b)(1) is
   4   appropriate, that dismissal must be without prejudice. See supra at 10 (citing Harris,
   5   847 F.3d at 656). If the Court finds, under Rule 12(b)(6), that dismissal-in-part of
   6   Entropic’s willfulness allegations is appropriate, Entropic respectfully requests leave
   7   to amend to further refine its allegations of Comcast’s willful infringement.
   8

   9   Dated: March 28, 2025                    Respectfully submitted,

  10                                            By: /s/ Christina N. Goodrich
  11                                            Christina Goodrich (SBN 261722)
                                                christina.goodrich@klgates.com
  12                                            Connor J. Meggs (SBN 336159)
  13                                            connor.meggs@klgates.com
                                                Rachel Berman (SBN 352237)
  14                                            rachel.berman@klgates.com
  15                                            K&L GATES LLP
                                                10100 Santa Monica Boulevard
  16                                            Eighth Floor
  17                                            Los Angeles, CA 90067
                                                Telephone: +1 310 552 5000
  18                                            Facsimile: +1 310 552 5001
  19
                                   Michael T. Pieja (SBN 250351)
  20                               mpieja@goldmanismail.com
  21
                                   Alan E. Littmann (pro hac vice)
                                   alittmann@goldmanismail.com
  22                               Douglas Jordan Winnard (SBN 275420)
  23
                                   dwinnard@goldmanismail.com
                                   Xaviere N. Giroud (pro hac vice)
  24                               xgiroud@goldmanismail.com
  25
                                   Kurt A. Holtzman (pro hac vice)
                                   kholtzman@goldmanismail.com
  26                               GOLDMAN ISMAIL TOMASELLI
  27                               BRENNAN & BAUM LLP
                                   200 South Wacker Dr., 22nd Floor
  28                                25
        ENTROPIC’S OPPOSITION TO COMCAST’S MOTION TO DISMISS THE
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   1                                      Chicago, IL 60606
                                          Tel: (312) 681-6000
   2                                      Fax: (312) 881-5191
   3
                                          James A. Shimota (pro hac vice)
   4                                      jim.shimota@klgates.com
                                          Jason A. Engel (pro hac vice)
   5
                                          jason.engel@klgates.com
   6                                      K&L GATES LLP
                                          70 W. Madison Street, Suite 3300
   7
                                          Chicago, IL 60602
   8                                      Tel.: (312) 372-1121
                                          Facsimile: (312) 827-8000
   9

  10                                      Attorneys for Plaintiff
                                          Entropic Communications, LLC
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   1                           CERTIFICATE OF COMPLIANCE

   2         The undersigned, counsel of record for Plaintiff Entropic Communications,
   3   LLC, certifies that this brief contains 5,851 words, which complies with the word
   4   limit of L.R. 11-6.1.
   5

   6
       Dated: March 28, 2025                 Respectfully submitted,
   7
                                             By: /s/ Christina N. Goodrich
   8
                                             Christina Goodrich (SBN 261722)
   9                                         christina.goodrich@klgates.com
                                             K&L GATES LLP
  10
                                             10100 Santa Monica Boulevard
  11                                         Eighth Floor
                                             Los Angeles, CA 90067
  12
                                             Telephone: +1 310 552 5000
  13                                         Facsimile: +1 310 552 5001
  14                                         Attorneys for Plaintiff
  15                                         Entropic Communications, LLC

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